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AO 24SB (Rev.ft9/l 1)(VAED rcv. 2)Sheet 1 •Judgment in a Criminal Case



                                          UNITED STATES DISTRICT COURT
                                                    Eastern District of Virginia
                                                            Alexandria Division

 UNITED STATES OF AMERICA
                                    V.                                   Case Number: 1:18-cr-00089-TSH-1

 JERRY CHUN SHING LEE                                                    USMNumber:83607-053
 Defendant.                                                              Defendant's Attorney:Nina J. Ginsberg, Esquire
                                                                                                  Edward B. MacMabon,Esquire

                                          JUDGMENT IN A CRIMINAL CASE
   The defendant pleaded guilty to Count 1 ofthe Indiciment.
   Accordingly,the defendant is adjudicated guilty of the following counts involving the indicated offenses.

 Titte and Section                     Nature of Offense                          Offense Class        Offense Ended      Count

 18 U.S.C.§ 794(a)d^(c)               Conspiracy to Gather or Deliver             Felony               01/15/2018
                                      Defense Information to Aid a Foreign
                                      Government

   On motion ofthe United States, the Court has dismissed the remaining counts in the indictment(Count 2 and 3)as to
defendant JERRY CHUN SHING LEE.

   As pronounced on November 22,2019,the defendant is sentenced an provided in pages 2 through 6 of this Judgment.
The sentence is imposed pursuant to die Sentencing Reform Act of 1984.

   It is ORDERED that the defendant shall notify the United States Attorney tor this district within 30 days ofany change
ofname,residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by thisjudgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Anomey of material
changes in economic circumstances.

   Signed this 22nd day of November,2019.



                                                                             T. s. RiJi.s. rn
                                                                             United States Dis fict Judge
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